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                              UNITED STATES DISTRICT COURT                      NOV~ 2 2018
                              EASTERN DISTRICT OF KENTUCKY
                                   COVINGTON DIVISION

  JANET HARTKE,                                    )
                                                   )
                 Plaintiff,                        )
                                                   )
                 v.                                )
                                                        Case No. 2: 18-cv-00099-WOB-CJS
                                                   )
  LIBERTY LIFE ASSURANCE COMPANY                   )
  OF BOSTON,                                       )
                                                   )
                 Defendant.                        )

                                      ORDER OF DISMISSAL

         This matter is before the Court on the parties' Stipulation of Dismissal.    The Court,

  having reviewed said stipulation and being duly advised, now GRANTS same.

         IT IS THEREFORE ORDERED that this cause is hereby dismissed with prejudice, with

  each party to bear its own costs and attorney fees.


      Thi~ay of November, 2018.
                                                   }1!l{~h01~
                                                WILLIAM 0. BERTELSMAN
                                                UNITED STATES DISTRICT JUDGE




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